                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    GARDNER DENVER, INC.,
                      Plaintiff,                                      Civil Action No. 16-CV-00159-JHS
                      v.
    ARCH INSURANCE COMPANY;
    CONTINENTAL CASUALTY COMPANY; and
    FEDERAL INSURANCE COMPANY,
                       Defendants.

    PLAINTIFF GARDNER DENVER, INC.’S NOTICE OF SUBSEQUENT AUTHORITY
     AND EVENT (RE MOTION TO COMPEL REGARDING PRIVILEGE AND WORK
     PRODUCT DESIGNATIONS ASSERTED BY FEDERAL INSURANCE COMPANY)

           Plaintiff Gardner Denver, Inc. (“GDI”), hereby gives notice of the following authority

and event subsequent to the briefing (Doc. Nos. 81-1, 84 and 87) on the Motion to Compel

Regarding Privilege and Work Product Designations Asserted by Federal Insurance Company

(Doc. Nos. 81 and 82):

           GDI calls to the Court’s attention to the Opinion of the California Superior Court, County

of San Mateo, in Onyx Pharma. Inc. v. Old Republic Ins. Co., et al, Case No. CIV 538248, Slip

Opinion (Cal. Super. Ct., May 31, 2018), a copy of which is attached as Exhibit A. 1 This

decision relates to the point that GDI argued in its opening brief (Doc. No. 81-1), at ECF pp. 6

and 7, and in its reply (Doc. No. 87), at ECF pp. 6 to 8, that the drafting history of the exclusion

is critical and indeed some of the most probative information in this case.

           The Onyx Court held (Ex. A at 6-7) that the bump-up exclusion in that case “does not

apply to the situation (as here) where the Insured Organization is the acquired entity.” As to the

importance of drafting history, GDI brings to the Court’s attention that the Onyx Court’s


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    The Court indicated that this ruling was tentative and thus subject to finalization later. Ex. A at 7.
reasoning (Ex. A pp. 11-12) carefully examined hypothetical alternative language that the

insurers could have used but that was not used. The Onyx Court’s analysis in this regard

demonstrates how important alternative language, which may have been considered by Federal

in the drafting of its bump-up exclusions, will be in this action. 2

            On this point, GDI further calls to the Court’s attention that it has recently developed

information about Kelly Daly, Esquire, one of the four in-house lawyers for Federal upon whom

Federal bases its privilege position that is in dispute on the current motion; specifically, GDI has

learned that Ms. Daly was a key drafter -- if not the key drafter -- of Federal’s bump-up

exclusions. Accordingly, her emails, other documents and testimony are reasonably expected to

provide key information about drafting history which, as argued in the briefs, is some of the most




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    For convenience, the text of that reasoning (from pp. 11-12) is reprinted here:

           The underlying Claim was that Amgen paid too low to acquire all ownership interest in Onyx. If such a Claim was
        excluded under the Loss Exclusion, it would have said, “that the price of consideration paid or proposed to be paid for the
        acquisition or completion of the acquisition of all or substantially all of the ownership interest in or assets of the Named
        Entity is inadequate.” But it doesn’t. Or it would say “all of the ownership interest in or assets of the Organization is
        adequate.” But it doesn’t. Or it would simply say that it is triggered by the allegations of a Claim “that the price or
        consideration paid or proposed to be paid for a Transaction is inadequate.” But it doesn’t.

            What it does say is “of an entity”. The National Union policy, read as a whole, distinguishes between the Organization
        and/or Named Entity (which is Onyx) versus “an entity” (which is somebody else). This is also consistent with the law
        stating that insurance policy exclusions are to be read narrowly, and coverage is to be read broadly.

            Under such reading, and consistent with the terms of the language of the National Union policy, the Loss Exclusion
        does not apply (is not triggered) where the Named Entity is the acquired company. This would be consistent with
        reasonable expectations of the insured company and its directors and officers that they are insured for lawsuits alleging that
        they breached their fiduciary duties in selling their company too cheap. If found liable, then the insurance coverage
        proceeds would go to the injured shareholders of the Named Entity, i.e., the insured, who no longer own anything due to
        the merger.

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probative information in this case. Based on this new information, GDI recently requested Ms.

Daly’s deposition, which is being scheduled.

                                               Respectfully submitted,

Dated: July 23, 2018                                    /s/ RG Placey
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